                             UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


 UNITED STATES OF AMERICA                      )
                                               )
                                               )       No. 3:11-00020
        v.                                     )       JUDGE HAYNES
                                               )
 AUSTIN MICHAEL EVANS                          )


                                 PROPOSED AGREED ORDER

       By agreement of the parties as evidenced by the signatures below, the parties respectfully

request that the hearing regarding the defendant’s conditions of supervised release be continued for

sixty days to Friday, May 6, 2016. The parties further request that if the defendant complies with

the conditions of the halfway house until May 6, 2016, the defendant will not be required to reside

at the halfway house after that date as part of his conditions of supervised release.

 It is so ORDERED

 Enter this ____ day of March, 2016.




                                               WILLIAM J. HAYNES, JR.
                                               UNITED STATES DISTRICT JUDGE



 APPROVED FOR ENTRY:


 s/ Philip H. Wehby

 PHILIP H. WEHBY
 Assistant United States Attorney


 s/ Peter Strianse

 PETER STRIANSE
     Casefor
 Attorney 3:11-cr-00020
             the Defendant Document 159 Filed 03/17/16 Page 1 of 1 PageID #: 412
